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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2020-03309
      Van Deelen v. Dickson et al
      Motion to Recuse [8], heard before Bankruptcy Judge Marvin Isgur 900 am -
      938 am 3-10-21




      Case Type :                    ap
      Case Number :                  2020-03309
      Case Title :                   Van Deelen v. Dickson et al

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